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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 NATURAL ESSENTIALS INC.                         )
 115 Lena Drive                                  )
 Aurora, OH 44202                                )   CASE NO. 5:21-CV-00823
                                                 )
                Plaintiff                        )   JUDGE JOHN R. ADAMS
                                                 )
 vs.                                             )
                                                 )   RESPONSE TO SECOND MOTION
 OLYMPIA SPORTS COMPANY, INC.                    )   FOR EXTENSION CONTAINED IN
 281 Fields Lane                                 )   LETTER OF MR. ROGER HEUMANN
 Brewster, New York 10509                        )
                                                 )
                Defendant                        )

       On May 11, 2021, Olympia Sports Co., Inc. (“Olympia”) had its first deadline to answer

the complaint of Plaintiff Natural Essentials Inc. (“Natural Essentials”). Olympia’s counsel, based

in New York, informed Plaintiff’s counsel that Olympia was working to find local counsel.

Olympia’s President Roger Heumann then sent a letter to this Court seeking a six week extension,

without conferring with Natural Essentials through its counsel or representatives as to a reasonable

agreed extension. (Doc. 5, Letter from Roger Heumann, docketed May 12, 2021.) Plaintiff had

no objection to a brief extension for Defendant to hire local counsel. (Doc. 6.) The Court granted

Olympia six weeks, until June 25, 2021. (Doc. 7.)

       Those six weeks passed, however, and nothing happened. Despite Natural Essentials

removal to federal court in early May, Olympia has yet to file a complaint in the New York action.

See S.D.N.Y. No. 7:21-cv-4279, Doc. 1 (proceeding removed based on two-page summons).

Likewise, Olympia has not instituted the anticipated “motion practice” or broached any discussion

regarding jurisdiction as noted in Mr. Heumann’s first letter to this Court. (Doc. 5.)
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       Today should be the parties’ Rule 26(f) conference before this Court. Instead, Olympia’s

President’s new letter docketed on June 28, 2021, three-days after the extended deadline, asks for

another thirty days. Mr. Heumann claims that the parties were engaging in an “earnest attempt to

reach a settlement” and, as of June 23, 2021 (last Tuesday) morning, “were working toward a

resolution of both litigations.” But this does not accurately describe Olympia’s conduct. Invited

to make contact with Natural Essentials’ business representative, Mr. Heumann failed to even

leave a message last week (by text, email, or voicemail).

       In his new letter, Mr. Heumann asks that “my time to answer” be extended another month

– ignoring the fact, as Natural Essentials pointed out in its prior filing, that the Defendant in this

proceeding is not him personally, but a corporation which may not be represented in this Court

except through counsel. Mr. Heumann does not explain why Olympia needs yet another month to

hire Ohio counsel or say anything to suggest that Olympia used the extension previously granted

to seek counsel to appear in this action.

       Natural Essentials respectfully asks that Olympia be ordered to answer the Complaint by

the end of this week, with default judgment as the natural consequence if it fails to do so.

                                                      Respectfully submitted,

                                                      /s/ Laura E. Kogan
                                                      Laura E. Kogan (0087453)
                                                      Yelena Boxer (0071379)
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                                                      Attorneys for Plaintiff Natural Essentials Inc.

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 28, 2021, a copy of the foregoing Response was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system

to all parties indicated on the electronic filing receipt. Parties may access this filing through the

Court’s system. I further certify that on June 28, 2021, a copy of the foregoing Response was also

served by overnight mail on the following:

        Olympia Sports Company, Inc.
        281 Fields Lane
        Brewster, New York 10509


                                               /s/ Laura E. Kogan
                                               Laura E. Kogan
                                               Attorney for Plaintiff Natural Essentials Inc.




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